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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

UNITED STATES OF AMERICA,

             Plaintiff,

      v.                                        Case No. 1:22-cv-255

$5,000.00 IN FUNDS SEIZED FROM
NAVY FEDERAL CREDIT UNION
ACCOUNT ENDING 8973 HELD IN
THE NAMES OF MOHAMED AND
KATERYNA ABOURCHED,

$100,000.00 IN FUNDS SEIZED FROM
NAVY FEDERAL CREDIT UNION
ACCOUNT ENDING 6678 HELD IN
THE NAMES OF MOHAMED AND
KATERYNA ABOURCHED,

$69,075.85 IN FUNDS SEIZED FROM
FIRST       FOUNDATION     BANK
ACCOUNT ENDING 1328 HELD IN
THE NAME OF MSM LUXURY
ESTATES,

$2,500.00 IN FUNDS SEIZED FROM
FIRST      FOUNDATION     BANK
ACCOUNT ENDING 1354 HELD IN
THE NAME OF MSM LUXURY
ESTATES,

             Defendant.
                                            /

            VERIFIED COMPLAINT FOR FORFEITURE IN REM

      NOW COMES Plaintiff, United States of America, by and through its

attorneys, Andrew Byerly Birge, United States Attorney for the Western District of




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Michigan, and Daniel T. McGraw, Assistant United States Attorney, and states upon

information and belief that:

                           NATURE OF THE ACTION

      1.     This is a civil forfeiture action filed pursuant to 18 U.S.C.

§§ 981(a)(1)(A), 981(a)(1)(C), 984, and Supplemental Rule G(2) of the Federal Rules

of Civil Procedure to forfeit and condemn to the use and benefit of the United States

of America the following property:

             a.    $5,000.00 in funds seized from Navy Federal Credit Union
                   Account ending 8973 held in the names of Mohamed and
                   Kateryna Abourched;

             b.    $100,000.00 in funds seized from Navy Federal Credit Union
                   Account ending 6678 held in the names of Mohamed and
                   Kateryna Abourched;

             c.    $69,075.85 in funds seized from First Foundation Bank Account
                   ending 1328 held in the name of MSM Luxury Estates; and

             d.    $2,500.00 in funds seized from First Foundation Bank Account
                   ending 1354 held in the name of MSM Luxury Estates

(“the Defendant Property”).

                           THE DEFENDANT IN REM

      2.     The Defendant Property consists of funds that were seized on or about

October 29, 2021 from various bank accounts by the United States Secret Service

(USSS). The Defendant Property is currently in the custody of the USSS.

                          JURISDICTION AND VENUE

      3.     This Court has jurisdiction over this proceeding pursuant to 28 U.S.C.

§§ 1345 and 1355(b)(1)(A) because this action is being commenced by the United


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States of America as plaintiff and the acts giving rise to the basis for forfeiture

occurred in the Western District of Michigan.

      4.     Venue is proper before this Court pursuant to 28 U.S.C. § 1395(b),

because the Defendant Property is located within the Western District of Michigan.

                            BASIS FOR FORFEITURE

      5.     As set forth below, the Defendant Property is subject to forfeiture to the

United States pursuant to 18 U.S.C. §§ 981(a)(1)(A) and 981(a)(1)(C).

      6.     Under 18 U.S.C. § 1343 it is a crime to devise a scheme or artifice to

defraud and to transmit information over wires in interstate or foreign commerce for

the purpose of executing a scheme to defraud. Under 18 U.S.C. § 1957 it is a crime

to knowingly engage or attempt to engage in a monetary transaction in criminally

derived property of a value greater than $10,000 that is derived from a specified

unlawful activity. Wire fraud is a specified unlawful activity pursuant to 18 U.S.C. §

1956(c)(7)(A) and 18 U.S.C. § 1961(1). 18 U.S.C. § 981(a)(1)(A) provides for civil

forfeiture of any property, real or personal, involved in a transaction or attempted

transaction in violation of 18 U.S.C. § 1957 or any property traceable to such property.

Title 18, U.S.C. § 981(a)(1)(C) provides for civil forfeiture of any property, real or

personal, which constitutes or is derived from proceeds traceable to wire fraud, in

violation of 18 U.S.C. § 1343.

      7.     When the subject property in a civil forfeiture action constitutes funds

deposited in an account at a financial institution, 18 U.S.C. § 984 provides for the

civil forfeiture of any identical funds found in the same account as the funds involved



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in the offense that is the basis for forfeiture provided that the forfeiture action is

commenced within one year from the date of the offense giving rise to forfeiture.

                                  BACKGROUND

      8.     Criminal organizations engage in a variety of schemes with the

intention of gaining access to either information or money from businesses. A

business email compromise scheme or scam (BEC) is one of the most financially

damaging online fraud schemes. In a BEC scam, criminals send emails to targeted

businesses disguised as a known business contact. The emails induce employees of

that business to commit a specific act. A common example is a vendor detailing or

updating financial account information for payment. These emails typically contain

an attachment that appears legitimate. The attachment may contain the company’s

letterhead, and other details known to the target company. The only source of

information unknown to the target company would be the “updated” or “new”

financial account information.

      9.     USSS, in conjunction with the Grand Rapids Police Department (GRPD)

and the High-Tech Crime Task Force of the Beverly Hills Police Department (BHPD

Task Force), is investigating MOHAMED MAGDI ABOURCHED and KATERYNA

ABOURCHED for engaging in a BEC and wire fraud scheme that caused Grand

Rapids Public Schools (GRPS) to transfer $2.8 million into a business bank account

belonging to the ABOURCHEDs, in response to fraudulent emails.




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         10.     MOHAMED and KATERYNA ABOURCHED are a married couple1 who

live in Beverly Hills, California (“Abourched Residence”). As described in more detail

below,     the    investigation   has   shown    that   MOHAMED     and   KATERYNA

ABOURCHED have multiple business and personal bank accounts that have been

used to perpetuate wire fraud against Grand Rapids Public Schools and to launder

the fraud proceeds. The business bank accounts are in the name of two businesses, in

particular: (1) MSM Luxury Estate, also called MSM Luxury Estates (plural); and (2)

Moka Mobile Nails, Inc., aka Moka Nail Club.

         11.     According to publicly available electronic filings from the California

Secretary of State database of business filings (“California business database”), MSM

Luxury Estate is a real estate services and sales corporation that was incorporated

on January 30, 2014, by Michael H. Starler, with “Moe Abourched” as the registered

agent, at the address of 415 N. Crescent Dr., Suite 230, Beverly Hills, California

(“MSM Office.”) In a filing dated April 15, 2021, “Moe Abourched” is listed as the

Chief Executive Officer, the Secretary, the Chief Financial Officer, and the Director

of MSM Luxury Estate.2




1According to publicly accessible information on KATERYNA ABOURCHED’s
Facebook page, she and MOHAMED ABOURCHED married in February 2018.
2 Instate business filings, the company name is “MSM Luxury Estate,” with no “s” at
the end of “Estate.” The company is identified as “MSM Luxury Estates” in various
bank records. The company’s website uses both the singular and the plural version of
“Estate.”

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        12.   MSM Luxury Estate has a website at the URL www.msmle.com. The

website includes an information page that boasts the depth of the company’s high-

level real estate experience: “. . . MSM Luxury Estates is a full-service Beverly Hills

based, luxury real estate company representing clients worldwide in a broad

spectrum of classes, including single-

family, residential, new development,

resort & hospitality, residential leasing

and management. . . .” The page states

that the “firm has gathered a team of

the top talents in the industry . . .”

There    is   a   photograph   of   “Moe

Abourched,”       Founder   and     CEO,

followed by a paragraph about him:

        13.   Based on the website for

MSM Luxury Estate, there are a total of two employees: MOHAMED ABOURCHED

and “Evelyn Rubio,” the “Director of Sales.”

        14.   According to the California business database, Moka Mobile Nails, Inc.

was incorporated by MOHAMED ABOURCHED on May 3, 2018, under the name of

Moka Uber Nails, Inc., at the address of the MSM Office: 415 North Crescent Drive,

Suite 230, Beverly Hills, CA, 90210. However, surveillance of KATERYNA

ABOURCHED (described below), and publicly available internet information about

“Moka Nail Club” has shown that Moka Mobile Nails, Inc. is not located at 415 North



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Crescent Drive, Suite 230. Rather, it is located at 292 South La Cienega Boulevard,

Suite 207A, Beverly Hills, California, 90211 (“Moka Nail Office”). Moreover, the

business is operating under the name of Moka Nail Club.

      15.   According to an August 19, 2019, California business filing, the name of

the corporation changed from Moka Uber Nails, Inc. to Moka Mobile Nails, Inc. In

that same filing, MOHAMED ABOURCHED was listed as President and

KATERYNA ABOURCHED was listed as Secretary. Presently, the California

business database reflects that Moka Mobile Nails, Inc. has been suspended by the

California Franchise Tax Board and is not permitted to do business in California.

      16.   Based on a website for Moka Nail Club and internet reviews, it appears

to be an appointment-only nail salon with one employee: KATERYNA ABOURCHED.




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                     FACTS SUPPORTING FORFEITURE

I.    Fraudulent Emails Cause Grand Rapids Public Schools to Transfer
      $2.8 Million to Bank Account of “Moka Mobile Nails, Inc.” in the Name
      of MOHAMED and KATERYNA ABOURCHED.

      17.   GRPS is a public school district in Grand Rapids, Michigan. GRPS

obtains health insurance for all its employees through a company called MESSA

Wellness (MESSA). GRPS typically pays insurance dues to MESSA every month, via

a wire transfer from GRPS’s PNC Bank Account to MESSA’s account with JP Morgan

Chase Bank Account (“Chase Bank”).

      18.   On July 12, 2021, GRPS employee B.S., who processes the wire

payments to MESSA, received an email purportedly from GRPS employee A.R., which

indicated that MESSA provided new “wiring information,” and directed him to

“please kindly update on our records for future payments.”

      19.   The attachment to this email—purportedly from MESSA, on Chase

Bank letterhead—provided a new bank account number for MESSA: Chase Bank

account number ending 9515 (CHASE 9515).

      20.   During an interview with GRPD detectives, GRPS employee A.R. stated

that they did not write or send the July 12, 2021 email to GRPS employee B.S.,

regarding the new bank account information for MESSA. Specifically, A.R. stated

that they never use phrases like “please kindly update.” Investigators determined

that this July 12, 2021 email was fraudulent, and it was sent by an individual who

had somehow gained access to A.R.’s GRPS email account.




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      21.    GRPS employee A.R. also recalled that GRPS employee B.S. came to her

desk and asked for verification to change the bank account number for MESSA. A.R.

attempted to call her MESSA contact, K.P., but learned K.P. was on vacation, so A.R.

spoke with K.P.’s assistant, J.N. GRPS phone records show that A.R.’s number called

the main number for MESSA twice on July 21, 2021, corroborating A.R.’s statement

to GRPD detectives.

      22.    After these phone calls, still on July 21, 2021, GRPS employee A.R. sent

a follow up email to several MESSA employees, with the attachment that purportedly

provided MESSA’s new bank account information, asking MESSA to confirm the

legitimacy of this document and information. A.R. confirmed to investigators that she

did in fact send this email.

      23.    Shortly after this email was sent, another email from GRPS employee

A.R.’s email account was sent to several MESSA employees and GRPS employee B.S.

In the email, A.R. appeared to write: “Kevin, thanks for the hint. Bill kindly proceed

with the wire payment to the attached.” But A.R. told investigators that she never

wrote this email and had never seen it before. Notably, this email includes “kindly”

language, similar to what appeared in the original fraudulent email from A.R.’s

account. This email was also determined to be fraudulent, and investigators believe

that the individual who gained access to A.R.’s GRPS email account was regularly

monitoring A.R.’s incoming and outgoing emails, and sending out fraudulent emails,

all to get GRPS to send its monthly insurance payment to CHASE 9515.




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      24.    In response to this fraudulent email, MESSA employee J.N. (K.P’s

assistant) replied to all, asking, “Hello, Amy. Does this mean that you have

everything all set then? If you need anything else, please let us know.”

      25.    Three minutes later, a fraudulent email was sent from GRPS employee

A.R.’s email account to the MESSA employees and GRPS employee B.S., stating, “Yes

sorry my bad i was skipping emails but all set Bill will send the wire out today.”

      26.    Believing GRPS employee A.R. had confirmed the accuracy of the

CHASE 9515 account as one belonging to MESSA, GRPS employee B.S. sent the July

monthly insurance payment on July 21, 2021. Specifically, B.S. made an electronic

wire transfer in the amount of $1,387,565.37 from GRPS’s PNC Bank account to

CHASE 9515.

      27.    On or about August 24, 2021, GRPS employee B.S. processed the August

monthly insurance payment from GRPS to MESSA, by again making an electronic

direct payment (via the ACH) in the amount of $1,451,810.24 from GRPS’s PNC Bank

account to CHASE 9515.

      28.    The wire transfers from July and August totaled $2,839,375.61.

      29.    On or about September 2, 2021, GRPS employees B.S. and A.R. learned

from MESSA employees that GRPS insurance payments for July and August were

past due. The GRPS employees exchanged emails with MESSA employees about this,

attempting to determine what happened with the payments GRPS sent to MESSA.

      30.    On or about September 9, 2021, GRPS contacted PNC Bank to try to

recall the August payment of $1,451,810.25 from GRPS’s PNC Bank account to



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CHASE 9515. PNC Bank attempted to recall the payment of $1,451,810.25, effecting

a freeze on those funds in CHASE 9515. On September 13, 2021, Chase Bank

successfully returned the second wire transfer of GRPS funds in the full amount of

$1,451,810.25 to GRPS account with PNC Bank, before any of those funds were

depleted or diverted to other bank accounts.

      31.    On September 10, 2021, while GRPS and MESSA employees were

communicating over email to try and determine what happened with GRPS’s July

and August insurance payments, GRPS employee B.S. received an email from GRPS

employee A.R.’s email account that was blatantly fraudulent. This email was

addressed to B.S., with MESSA employee K.P. added in the cc: field of the email.

However, the email address for MESSA employee K.P. was bogus, as the letter “s”

appeared three times in the name: “Messsa.” This fraudulent email stated: “Hi [B.S.],

[K.P.] is CC’d on this email in order for us to resolve and properly go through due

process as a result of the ongoing fraudulent investigation, [K.P] would you be kind

to send me a secure message containing your banking information.” GRPS employee

A.R. confirmed that she did not write, send, or even see this email. It again uses the

“kind” language that is not A.R.’s writing style.

      32.    Based on investigators’ review of the pertinent emails sent from GRPS

employee A.R.’s email account, investigators believe A.R.’s account was breached by

a person or persons involved in a scheme to defraud and steal funds of GRPS that

were intended for MESSA. The person or persons was/were regularly accessing and

monitoring the email traffic in A.R.’s email account to stay informed of



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communications between GRPS and MESSA in real time, allowing the person to

intervene as needed to ensure the success of the wire fraud scheme.

      33.   The investigation has identified no connection between GRPS employees

A.R., B.S., or any GRPS or MESSA employees, and the individuals who spent and

transferred stolen GRPS funds after they were deposited into CHASE 9515, an

account controlled by MOHAMED and KATERYNA ABOURCHED.

II.   MOHAMED and KATERYNA ABOURCHED Spend and/or Transfer
      Over One Million Dollars of Funds Belonging to GRPS.

      34.   On or about September 9, 2021, a Chase Bank Global Security Vice

President-Investigator (“Chase Bank VP”) was notified by a Chase Bank employee

that PNC Bank had recalled the August 24, 2021 payment of $1,451,810.24 from

GRPS’s PNC Bank account to CHASE 9515. According to the Chase Bank VP, Chase

Bank was unaware of the reason for the recall, but it began an investigation into

CHASE 9515.

      A.    CHASE 9515: MOHAMED and KATERYNA ABOURCHED’s
            Account for “Moka Mobile Nails, Inc.”

      35.   According to the Chase Bank VP, CHASE 9515 is a business account in

the name of Moka Mobile Nails, Inc., with an address of 415 N. Crescent Dr., Suite

230, Beverly Hills, California, i.e., the MSM Office address. The Chase Bank VP

determined that the owners of the account are MOHAMED MAGDI ABOURCHED

and KATERYNA ABOURCHED, with a shared residential address in Beverly Hills,

California, i.e., the Abourched Residence. According to Chase Bank records,




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MOHAMED ABOURCHED’s phone number is 310-990-9850 and KATERYNA

ABOURCHED’s number is 424-324-1551.

      36.    According to the Chase Bank VP, the account balance in CHASE 9515

before the July 21, 2021 deposit of $1,387,565.37 of stolen GRPS funds was only

$299.77. During the prior year, the account balance in CHASE 9515 was typically in

the range of $100 to $1,000 at any given time.

      37.    According to information and records provided by the Chase Bank VP,

as well as records from First Foundation Bank and Regions Bank, following the

deposit of $1,387,565.37 of stolen GRPS funds into CHASE 9515 on July 21, 2021,

the entire amount was spent or transferred out of CHASE 9515 between July 22 and

September 7, 2021. Among other transactions, including purchases at establishments

in the Beverly Hills area, GRPS funds were transferred from CHASE 9515 into the

following bank accounts:

 Receiving
                    Date       Transaction                           Amount
 Account
                          Online transfer conducted through
 JP Morgan Chase 07/27/21 banking profile of Mohamed                 $37,500
 Ending 6355              Abourched
 Mohamed &                Online transfer conducted through
 Kateryna        07/27/21 banking profile of Mohamed                 $250,000
 Abourched                Abourched
                 Total                                               $287,500

 Receiving
                    Date       Transaction                           Amount
 Account
 Navy Federal                Online transfer conducted through
 Credit Union       07/21/21 banking profile of Mohamed              $5,000
 ending 8973                 Abourched
 MSM Luxury
                    Total                                            $5,000
 Estates


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    Receiving
                       Date       Transaction                            Amount
    Account
    First Foundation   07/27/21 Wire transfer                            $762,000
    Bank ending                 Online transfer conducted through
    1328               08/10/21 banking profile of Mohamed               $100,000
    MSM LUXURY                  Abourched
    ESTATES
                       Total                                             $862,000
    General Account

    Receiving
                       Date       Transaction                            Amount
    Account
                                 Wire transfer conducted through the
    Truist Bank
                       07/29/221 banking profile of Mohamed              $49,378
    ending 3565
                                 Abourched
    Robert Wilson
                       Total                                             $49,378

    Receiving
                       Date       Transaction                            Amount
    Account
    Regions Bank                  Wire transfer conducted through the
    ending 8770        08/04/21   Chase Bank online banking profile      $5,000
    Faithful Motors               of Mohamed Abourched
    LLC                Total                                             $5,000

    Receiving
                       Date          Transaction                         Amount
    Account
    Navy Federal       08/12/21      Online transfer                     $100,000
    Credit Union
    ending 6678
                       Total                                             $100,000
    MSM Luxury
    Estates

    Receiving Account     Date         Transaction                       Amount
    Wise Bank f/k/a                    Wire transfer conducted through
    Evolve Bank & Trust   07/28/21     the banking profile of Mohamed    $25,000
    ending 2314 Doina                  Abourched3
    Fruhwald              Total                                          $25,000

3   On August 10, 2021, the Moka Mobile Nails Chase Bank account (CHASE 9515)
received an incoming ACH deposit of $24,544.10 from Evolve Bank & Trust account
number ending 2314, from sender Doina Fruhwald. This reflected a value slightly
less than the 07/28/21 wire transfer of $25,000 from the Moka Mobile Nails account
to this Evolve bank & Trust Account.



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       38.         During the same timeframe, according to information and records

provided by the Chase Bank VP, the CHASE 9515 account was used for the following

outgoing transactions/debits/payments:
                        CHASE 9515 – MOKA MOBILE NAILS, INC.
                      Select Transfers and Payments Out of Account
                                                                     Chase
                                        Recipient Bank Account and   Online
Date          Type          Amount
                                        Beneficiary                  Banking
                                                                     Profile Used
                                 “NUBU HOTEL CABOS USD
8/18/21       Payment       $3,503.28                                n/a
                                 CABO SAN LUCA;”
              Debit              Ferragamo in Beverly Hills, CA
8/29/21       Card     $3,084.50 (upscale retail store that sells    n/a
              Purchase           shoes, handbags, jewelry, etc.)
              Cashier
9/2/21                 $20,000   Recipient “Navin Hemrajani”         n/a
              Check
                                 Lake City Bank account number
              Wire                                                   MOHAMED
9/2/21                 $5,000    ending 0007, for recipient
              transfer                                               ABOURCHED
                                 “Safefunds LLC”

       39.         The $3,503.28 in

stolen GRPS funds used on

August       18,    2021   to   pay

“NUBU HOTEL CABOS USD

CABO           SAN          LUCA”

corresponds to a vacation

MOHAMED and KATERYNA

ABOURCHED took to Cabo

San Lucas, Mexico, as announced in a public Instagram post on the “mokanailclub”

account. The post, dated August 18, 2021 and tagged with the location “Nobu Los

Cabos,” shows KATERYNA ABOURCHED on an airplane.


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      40.    According to customs records maintained by the Department of

Homeland    Security,   on   August   18,   2021,   MOHAMED     and   KATERYNA

ABOURCHED reentered the United States through customs at Los Angeles

International Airport, after returning on United Airlines flight 1754 from Cabo San

Lucas, Mexico.

      41.   Regarding the $20,000 cashier’s check purchased on September 2, 2021,

the Chase VP provided a screenshot from the bank’s surveillance video for that

transaction, which shows MOHAMED ABOURCHED:




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           B.     Chase Account ending 6355 (CHASE 6355): MOHAMED and
                  KATERYNA ABOURCHED’s Personal Bank Account.

           42.    The Chase Bank VP reviewed the account activity for CHASE 6355, the

personal bank account of MOHAMED and KATERYNA ABOURCHED, which

received a total of $287,500 stolen GRPS funds on July 27, 2021 from CHASE 9515.

Prior to the deposit of stolen GRPS funds, the balance of the ABOURCHEDs’ shared

personal bank account, CHASE 6355, was $273.49. Over the course of the prior year,

the account balance was typically in the range of $1,000 to $5,000 at a time.

           43.    Between July 27 and September 17, 2021, CHASE 6355 was used for:

(1) a veritable spending spree at restaurants and high-end retail stores in and around

Beverly Hills; (2) payments to utilities providers, MoneyGram, and Venmo recipients;

and (3) online payments, account transfers, and wire transfers of funds to other bank

accounts and credit card accounts. Over $100,000 in stolen GRPS funds was depleted

from CHASE 6355 in that time period. With respect to the third category—transfers

and payments to other accounts—the Chase Bank VP identified the following

transfers/transactions from CHASE 6355 to other bank or credit card accounts:

                      CHASE 6355 – Personal Account MOHAMED & KATERYNA ABOURCHED
                                 Select Transfers and Payments Out of Account
 Date            Type         Amount         Recipient Bank Account and Beneficiary Chase Online Banking
                                                                                      Profile Used
 07/27/21        Online       $7,302.76      Chase Bank credit card account ending in KATERYNA
                 payment                     9958                                     ABOURCHED
 07/27/21        Online       $6,038.35      Chase Bank credit card account ending in KATERYNA
                 payment                     9621                                     ABOURCHED
 7/28/21         ACH          $67.24         American Express account; transaction ID n/a
                 payment                     W4510
 7/28/21         ACH          $67.24         American Express account; transaction ID n/a
                 payment                     A3848
 7/29/21         ACH          $9,266.45      Navy Federal bank account number ending n/a
                 payment                     0002


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 7/30/21         ACH        $8,463.54   Navy Federal bank account number ending      n/a
                 payment                0002
 8/2/21          Wire       $20,000     Truist Bank account number ending 3565,      MOHAMED
                 transfer               for recipient “Robert Wilson”                ABOURCHED
                 Wire       $1,000      Capital One account ending 9861 for          MOHAMED
 08/04/21
                 transfer               recipient “Software Assurance Capital LLC”   ABOURCHED
 8/8/21          Online     $6,000      Chase Bank account ending 5205,              KATERYNA
                 transfer               personal bank account of KATERYNA            ABOURCHED
                                        ABOURCHED
                 Online     $7,241.94   Chase Bank credit card account ending in     KATERYNA
 8/28/21
                 payment                9621                                         ABOURCHED
                 Online     $4,124.98   Apple credit card account number ending      n/a
 9/3/21
                 payment                0238

           44.     Many of the transactions from CHASE 9515 and CHASE 6355 in the

above charts were completed online through the online banking profiles of

MOHAMED ABOURCHED and KATERYNA ABOURCHED. Anyone who accessed

CHASE 9515 through an online banking profile would have been able to plainly see

that the sender of the deposits on July 21 and August 24, 2021, for $1,387,565.37 and

$1,451,810.24, respectively, was GRPS.

           C.      First Foundation Bank Account ending 1328 (FIRST 1328):
                   “MSM LUXURY ESTATES GENERAL ACCOUNT.”

           45.     According to records provided by First Foundation Bank, FIRST 1328 is

in the name of “MSM LUXURY ESTATES General Account,” with an address of the

MSM Office. The account was opened by MOHAMED MAGDI ABOURCHED on April

19, 2021. According to First Foundation, the wire transfer deposit of $762,000 from

CHASE 9515 was credited to the FIRST 1328 account on July 27, 2021, and the online

transfer deposit of $100,000 from CHASE 9515 was credited to FIRST 1328 on August

11, 2021.

           46.     According to First Foundation records, there was an outgoing transfer

from FIRST 1328 to the following First Foundation Bank Account ending 1354

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(FIRST 1354), held in the name of “MSM LUXURY ESTATES Trust Account” on

August 3, 2021 in the amount of $2,500.

        47.     Among other transactions, including purchases at Office Depot, the

United States Postal Service, and a restaurant in Beverly Hills, the following

outgoing transactions, totaling $795,623.46, were made from FIRST 1328 between

July 27, 2021 and August 30, 2021:

             First Foundation Bank Account ending 1328 – MSM Luxury Estates General Account
                                 Select Transfers and Payments Out of Account
      Date          Type                 Amount           Recipient Bank Account and Beneficiary
      7/27/21       ACH payment          $11,547.92       AMEX EPayment
      7/29/21       Wire transfer        $231,260         Ragei Oulhago Electronics Trading
      8/6/21        Wire transfer        $462,516.50      Ragei Oulhago Electronics Trading
      8/6/21        ACH payment          $48.00           Google Apps
      8/9/21        ACH payment          $19.35           Google Apps
      8/9/21        ACH payment          $864.89          BMW Financial
      8/13/21       Wire transfer        $82,500          Aura Solution Company, Ltd.
      8/17/21       ACH payment          $3,837.32        Card Assets CC
      8/19/21       ACH payment          $260.07          Verizon Wireless Webpay
      8/30/21       ACH payment          $269.41          Verizon Wireless Webpay

II.     MOHAMED ABOURCHED Called GRPS and GRPD Claiming to Be a
        Fraud Victim.

        48.     On September 20, 2021, GRPS employee B.S. received a call from a man

who said he was MOHAMED ABOURCHED. During the call, ABOURCHED told

B.S. that he had an investment company and that wires went into his company bank

account at Chase Bank. ABOURCHED informed B.S. that ABOURCHED received a

photograph of a document, via the WhatsApp phone app, on GRPS letterhead, which

was signed by B.S. ABOURCHED explained that, in the letter, B.S. said everything

was good with the two wire payments into ABOURCHED’s business account.

ABOURCHED asked if B.S. sent the letter and B.S. said he did not. ABOURCHED

claimed to have googled B.S.’s name to find a phone number to call B.S.

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ABOURCHED said he was instructed by people he now believes are fraudsters to

transfer the wired funds to other bank accounts. ABOURCHED told B.S. that he was

not instructed to do anything with the second wire of funds. ABOURCHED told B.S.

that Chase had closed ABOURCHED’s bank account and ABOURCHED had no idea

why. B.S. told ABOURCHED that both of the wires into ABOURCHED’s account

were fraudulent wires of funds involving GRPS’s venders. B.S. asked ABOURCHED

to immediately call the GRPD Detective and provided ABOURCHED with the

Detective’s phone number.

      49.   Later that same day, September 20, 2021, the GRPD Detective received

a phone call from a man who identified himself as MOHAMED ABOURCHED, who

was using phone number 310-990-9850. (This is ABOURCHED’s phone number

according to Chase Bank records and various internet sites.) ABOURCHED told the

Detective that he owns MSM Luxury Estates, a real estate company. ABOURCHED

said that his Chase Bank account was locked and his assets were seized, but

ABOURCHED did not know why because he was the victim. ABOURCHED said that

he called Chase, but nobody would talk to him about what was going on. The

Detective asked ABOURCHED for his home address. ABOURCHED provided the

Detective with the business address for MSM Luxury Estate, i.e., the MSM Office,

instead of his actual home address.

      50.   ABOURCHED told the Detective that he sometimes has foreign

business and that he met a woman from Europe, “Dora,” through a third party who

said Dora might be interested in buying some property. ABOURCHED did not know



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Dora’s last name, but he claimed to have a photograph of her passport. The Detective

asked ABOURCHED to provide the name of the third party who introduced him to

Dora, but ABOURCHED would not do so. The Detective asked if ABOURCHED met

Dora on a dating app. ABOURCHED replied no and explained that he was married—

presumably implying that he would not use dating apps as a married man.

ABOURCHED said that six or seven months ago, Dora approached ABOURCHED

with an opportunity for a $100 million investment, but it fell through. More recently,

Dora texted ABOURCHED about a $2.8 million investment opportunity.

      51.    ABOURCHED told the Detective that he had received a letter that

morning through the WhatsApp phone app, from GRPS employee B.S., stating that

the wire into CHASE 9515 was valid. The Detective asked ABOURCHED to send a

picture of the purported GRPS letter to his cell phone number. ABOURCHED did so

and the Detective received a photograph of the letter, via text message, from 310-990-

9850. Below is the image that ABOURCHED sent to the GRPD Detective via text

message:




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           52.   ABOURCHED acknowledged getting the $2.8 million in his business

bank account but said, again, that he was a victim. ABOURCHED said that he “just

wanted to make a buck” and that he forwarded the funds to other accounts. The

Detective attempted to ask questions about funds that were forwarded to other

accounts, at which point ABOURCHED said that it sounded like he should get a

lawyer. ABOURCHED asked if he needed a lawyer; the Detective replied that he

could not provide ABOURCHED with legal advice. ABOURCHED said that he was

going to call a lawyer and would have his lawyer call the Detective back, or

ABOURCHED himself would call back after consulting a lawyer. The Detective never

heard back from ABOURCHED or an attorney on ABOURCHED’s behalf.

III.       March and April 2021 Fraud Involving ABOURCHED’s Wells Fargo
           Bank Business Account for MSM Luxury Estates.

           53.   According to information provided by Wells Fargo Bank (“Wells Fargo”)

and a Florida company, Stor-All Storage (“Stor-All”), in late March and April 2021,

Stor-All was a victim of a fraud scheme that resulted in $500,000 being transferred

via wire into an MSM Luxury Estates account with Wells Fargo.

           54.   According to Wells Fargo, the recipient account, number 7240990759,

was in the name of customer MOHAMED M ABOURCHED, doing business as “MSM

Luxury Estates” (“MSM Wells Fargo Account”). The wires were transmitted as

follows:

 Date            Amount        Recipient Bank Account            Beneficiary
 3/31/21         $185,000      Wells Fargo account ending 0759   MSM Luxury Estates, Inc.
 3/31/21         $315,000      Wells Fargo account ending 0759   MSM Luxury Estates, Inc.




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      55.    On April 1st and 2nd, 2021, funds were depleted from the MSM Wells

Fargo Account as follows:

             a. April 1, 2021: $10,000 outgoing wire transfer to “Saskia Tattegrain”

             b. April 2, 2021: $2,972.50 debit card purchase at Western Union

             c. April 2, 2021: $2,972.50 debit card purchase at Western Union

      56.    On April 2, 2021, Wells Fargo learned of the fraud from law enforcement

and from Bank of America (Stor-All’s bank). Bank of America attempted to recall the

wires on April 2, 2021.

      57.    On April 2, 2021, a Wells Fargo bank investigator spoke with

MOHAMED ABOURCHED, without knowing that ABOURCHED was part of the

fraud. The investigator informed ABOURCHED that the wires totaling $500,000 had

been recalled. ABOURCHED told the investigator that he was contacted by someone

who instructed ABOURCHED to receive the funds. ABOURCHED said he believed

he was conducting legitimate business transactions at the behest of this person. The

investigator told ABOURCHED that his account was involved in a scam or fraud.

      58.    On April 3, 2021, MOHAMED ABOURCHED called the BHPD to make

a threat report. A BHPD Officer responded to the Abourched Residence, where he

met MOHAMED ABOURCHED. According the Officer, ABOURCHED said that he

was in real estate and was contacted on April 1, 2021 by a man he dealt with a few

times over the past couple years, who ABOURCHED knew only by his first name,

“Nickoli.” ABOURCHED said Nickoli had some people that wanted to get involved in

real estate and invest $500,000 with ABOURCHED. ABOURCHED stated that



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Nickoli had $500,000 transferred into ABOURCHED’s bank account. However,

ABOURCHED said that Bank of America (not Wells Fargo) advised him that the

transfer was recalled because it was fraudulent. ABOURCHED claimed to not know

why the bank considered the transfer fraudulent. ABOURCHED further explained

to the Officer that, prior to the recall of the $500,000 transfer into his account,

ABOURCHED sent two wire transfers of $2,900, plus a $72 fee, via Western Union,

at the direction of Nickoli, as part of a fee for the investment transaction.

ABOURCHED said he could not stop the Western Union wires.

      59.    ABOURCHED went on to state that, after the $500,000 transfer was

recalled, ABOURCHED began receiving text messages from an unknown number,

demanding that ABOURCHED wire $25,000 to them or they would go after him and

his family. ABOURCHED showed the Officer screenshots of the text messages, in

which the sender referred to ABOURCHED’s nieces and other family members and

claimed to know where they lived. ABOURCHED said that numerous family

members had contacted him, saying they were receiving phone calls from unknown

numbers with people saying they were looking for ABOURCHED. ABOURCHED said

he wanted the people making threats to be prosecuted. The Officer later tried to call

the number that ABOURCHED claimed was used for threats against him, but there

was no answer.

      60.    ABOURCHED told the Officer that he also received text messages from

a man at “Stor Development LLC,” with the name of one of Stor-All Storage’s

executives. ABOURCHED provided the Officer with screen shots of this purported



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conversation. In the messages, the Stor-All executive said the money that was

transferred into ABOURCHED’s account was his, and it was never supposed to be

sent to ABOURCHED in the first place. The executive claimed to also have been

swindled by Nickoli4 and lamented that they were both victims. In the exchange,

ABOURCHED claimed that he was told the money was for real estate investments;

his words appear in the blue highlighted, right-side text of this excerpt from the

screen shots:




4The purported person from “Stor Development LLC” spelled the name “Nicolie” with
an “ie.”

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      61.    Notably, the story ABOURCHED told the Officer on April 3, 2021 was

different than the story ABOURCHED told the Wells Fargo investigator on April 2,

2021. ABOURCHED did not mention anyone named “Nickoli” to the Wells Fargo

investigator. Additionally, the screen shots of the text messages between

ARBOUCHED and the purported “Stor Development LLC” executive are dated

Friday, April 1—before ABOURCHED was told by the Wells Fargo investigator about

the recall of the $500,000 wire transfers, and before ABOURCHED’s Western Union

wires on April 2. When ABOURCHED talked to the Wells Fargo investigator on April

2, 2021, he did not indicate that he already knew there was fraud happening in his

account.

      62.    Wells Fargo closed ABOURCHED’s MSM Luxury Estates account on

April 16, 2021 because of the fraud. A total of $484,462.91 was returned to Stor-All’s

Bank of America account.

      63.    According to the executive of Stor-All, the Florida-based company was

the victim of a fraud scheme in March and April 2021 that resulted in a total of $2.3

million being transferred out of the company’s Bank of America accounts into a

various other bank accounts. The executive said that a company employee received a

phone call in which a purported Bank of America employee told the Stor-All employee

that Stor-All’s bank accounts had been compromised and the company needed to

immediately help Bank of America avoid having money stolen out of their accounts.

The employee fell for the ruse and provided the caller with the password to the

company’s payroll system, “Lock Pro.” Over the next few days, the fraudster(s)



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conducted 23 wire transfers of funds out of the company’s Bank of America accounts,

totaling $2.3 million. The executive said the company realized quickly that they were

the victim of fraud; they were able to work with Bank of America to recover all but

approximately $300,000 of their funds.

         64.   The executive was shown the text message exchange that was provided

by MOHAMED ABOURCHED to the BHPD Officer. He denied ever having

communicated with ABOURCHED or anyone named “Moe” or “Mohamed” about the

fraud against Stor-All. The executive said the purported text messages were not from

him and he had no knowledge of a person named “Nickoli.”

IV.      MOHAMED and KATERYNA ABOURCHED’s Intent to Defraud GRPS.

         65.   Based on the nature and extent of the financial transactions that ensued

after $1,387,565.37 of stolen GRPS funds were transferred into CHASE 9515 on July

21, 2021, MOHAMED and KATERYNA ABOURCHED were knowing participants in

a wire fraud scheme to steal money from Grand Rapids Public Schools. Most

significantly, $1,260,500—the vast majority of stolen GRPS funds from the July 21st

wire transfer—were transferred from CHASE 9515 to bank accounts belonging to the

couple’s businesses, or to their personal bank accounts, as summarized in the chart

below.

 Institution             Account No.    Accountholder                      Fraud Amt.
                         6355           Mohamed and Kateryna Abourched     $287,500.00
 Chase Bank
                         5205           Kateryna Abourched                  $6,000.00
 Navy Federal Credit     8973           MSM Luxury Estates                  $5,000.00
 Union                   6678           MSM Luxury Estates                 $100,000.00
                                        MSM LUXURY ESTATES General
 First Foundation Bank   1328                                              $862,000.00
                                        Account
 Total                                                                    $1,260,500.00



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      66.    The payments and transactions out of MOHAMED and KATERYNA

ABOURCHED’s personal Chase Bank account, CHASE 6355, following the July 27,

2021 transfer of $287,500 into the account from CHASE 9515, reflect a month-long

spending spree at high-end Beverly Hills restaurants and stores, as well as a trip

MOHAMED and KATERYNA ABOURCHED took to Cabo San Lucas.

      67.    Further, ABOURCHED’s conduct surrounding the attempted fraud in

his Wells Fargo account in March and April 2021 bears a striking resemblance to his

recent conduct surrounding the GRPS fraud. According to ABOURCHED’s own

statements to law enforcement, on April 3, 2021, and on September 20, 2021,

ABOURCHED was contacted by someone he knew only by their first name—first

“Nickoli” and then “Dora”—about a real estate investment opportunity. In both cases,

the real estate investment opportunity presented to ABOURCHED was for the exact

amount of money that was fraudulently deposited into ABOURCHED’s bank account:

a $500,000 real estate opportunity with “Nickoli” in April 2021, after which $500,000

was fraudulently transferred into his Wells Fargo Account for MSM Luxury Estates,

and then a $2.8 million opportunity with “Dora,” after which the same total amount

was deposited into his and KATERYNA’s Chase Bank account for MSM Luxury

Estates (CHASE 9515). And in both cases, ABOURCHED proactively contacted law

enforcement and attempted to absolve himself by providing evidence purportedly

from employees of the victim companies. In April 2021, ABOURCHED provided the

BHPD Officer with screen shots of messages ABOURCHED claimed to have

exchanged with “Bert Anderson” of “Stor Development LLC.” On September 20, 2021,



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ABOURCHED provided the GRPD Detective with a photographed letter purportedly

from GRPS Employee B.S., on GRPS letterhead, which ABOURCHED claimed to

have received that very morning via WhatsApp. In both scenarios, the employees of

the respective fraud victim companies denied any knowledge of the manufactured

evidence implicating them.

V.    Transmission of Interstate Wires in Chase Bank Transactions.

      68.    According to a Chase Bank employee in the Electronic Crimes

Department, the Chase Bank computer servers that are used for all of the bank’s

electronic payments and transactions are located in Illinois and Delaware. Thus, any

electronic wire transfer, ACH transfer, or electronic payment (such as Quickpay or

an electronic payment through the Zelle platform) effects a transmission of electronic

signals from the location where the transaction is initiated—such as an ATM or a

computer—through one of the servers in Illinois or Delaware, to the destination

bank’s location.

VI.   Seizure Warrants

      69.    On or about October 29, 2021, pursuant to seizure warrants issued by

the U.S. District Court for the Western District of Michigan, the USSS seized the

Defendant Property from the following bank accounts:

             a.    $5,000.00 in funds seized from Navy Federal Credit Union
                   Account ending 8973 held in the names of Mohamed and
                   Kateryna Abourched;

             b.    $100,000.00 in funds seized from Navy Federal Credit Union
                   Account ending 6678 held in the names of Mohamed and
                   Kateryna Abourched;



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           c.    $69,075.85 in funds seized from First Foundation Bank Account
                 ending 1328 held in the name of MSM Luxury Estates; and

           d.    $2,500.00 in funds seized from First Foundation Bank Account
                 ending 1354 held in the name of MSM Luxury Estates.




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                                   CLAIM I
               (Forfeiture of Proceeds Traceable to Wire Fraud)

      70.     Plaintiff hereby incorporates by reference the allegations set forth in

paragraphs numbered 1 through 69, as referenced above.

      71.     The Defendant Property is forfeitable to the United States pursuant to

18 U.S.C. § 981(a)(1)(C) because it constitutes or is derived from proceeds traceable

to a violation of 18 U.S.C. § 1343.

                                    CLAIM II
            (Forfeiture of Proceeds Traceable to Money Laundering)

      72.     Plaintiff hereby incorporates by reference the allegations set forth in

paragraphs number 1 through 69, as referenced above.

      73.     The Defendant Property is forfeitable to the United States pursuant to

18 U.S.C. § 981(a)(1)(A) because it constitutes or is derived from proceeds traceable

to a violation of 18 U.S.C. § 1957.

                                       RELIEF

      Wherefore, the United States prays that the usual process for forfeiture issue

against the Defendant Property; that due notice be given to all interested parties to

appear and show cause why forfeiture to the United States of America should not be

decreed; and that the Defendant Property be condemned and forfeited to the United

States of America and be delivered into the custody of the United States Secret

Service for disposition according to law; and for such other relief as this Court may

deem just and proper.




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                                         DONALD DANIELS
                                         Acting United States Attorney


Dated: March 18, 2022                    _________________________________
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